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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1961V
                                          UNPUBLISHED


    MICHELE SNYDER,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: February 7, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine;
                         Respondent.                            Pneumococcal Conjugate (Prevnar
                                                                13) Vaccine; Bilateral Shoulder Injury
                                                                Related to Vaccine Administration
                                                                (SIRVA)


Brian L. Cinelli, Schiffmacher Cinelli Adoff LLP, Buffalo, NY, for Petitioner.

Jennifer A. Shah, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On December 23, 2020, Michele Snyder filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered bilateral shoulder injuries related to
vaccine administration (“SIRVA”) following the administration of tetanus diphtheria
acellular pertussis (“Tdap”) and pneumococcal conjugate (“Prevnar 13”) vaccines on
September 11, 2019. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.



1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On September 12, 2022, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On February 6, 2023, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $78,165.00.
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the
proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $78,165.00 (consisting of $77,500.00 for past pain and suffering
and $665.00 for out-of-pocket expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 MICHELE SNYDER,

                Petitioner,                           No. 20-1961V
                                                      Chief Special Master Corcoran
 v.                                                   SPU

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 23, 2020, Michele Snyder (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

–34, as amended (“Vaccine Act” or “Act”). Petitioner alleges that she suffered bilateral

Shoulder Injury Related to Vaccine Administration (“SIRVA”) caused by tetanus-diphtheria-

acellular pertussis and pneumococcal conjugate vaccinations administered on September 11,

2019. Petition at 1.

       On September 9, 2022, respondent filed his Vaccine Rule 4(c) report, recommending that

compensation be awarded. ECF No. 31. On September 12, 2022, this Court issued a Ruling on

Entitlement finding petitioner entitled to compensation. ECF No. 33.

I.     Items of Compensation

       Respondent proffers that petitioner should be awarded $78,165.00, consisting of

$77,500.00 for past pain and suffering and $665.00 for out-of-pocket expenses. This represents

all elements of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-

15(a). Petitioner agrees.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $78,165.00, representing

compensation for all elements of economic and noneconomic damages, in the form of a check

payable to petitioner, Michele Snyder.

III.   Summary of Recommended Payment Following Judgment

       Lump sum payable to petitioner, Michele Snyder:                               $78,165.00.

                                              Respectfully submitted,

                                              BRIAN BOYNTON
                                              Principal Deputy Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Director
                                              Torts Branch, Civil Division

                                              HEATHER L. PEARLMAN
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              DARRYL R. WISHARD
                                              Assistant Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                    s/ Jennifer A. Shah
                                    Jennifer A. Shah
                                    Trial Attorney
                                    Torts Branch, Civil Division
                                    U.S. Department of Justice
                                    P.O. Box 146
                                    Benjamin Franklin Station
                                    Washington, D.C. 20044-0146
                                    Tel: (202) 305-2181
                                    Jennifer.shah@usdoj.gov

Dated: February 6, 2023




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